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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO



   ROBERT HARRISON, on behalf of himself,
   the ENVISION MANAGEMENT
   HOLDING, INC. ESOP, and all other
   similarly situated individuals,

                   Plaintiff,

   v.                                                   Civil Action No. 1:21-cv-304
   ENVISION MANAGEMENT HOLDING,
   INC. BOARD OF DIRECTORS, et al.,

                   Defendants.

         MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
                        ARBITRATION AND/OR DISMISS

                                      I.      INTRODUCTION

            This case concerns Defendants’ creation of a retirement plan for their employees which

   served as a means to sell their company stock for an inflated price while keeping control of the

   company. Specifically, Plaintiff Robert Harrison brings this ERISA1 action to remedy Defendants’

   imprudent and disloyal conduct in orchestrating the sale of Envision Management Holding, Inc.

   (the “Company” or “Envision”) to the Envision Management Holding, Inc. Employee Stock

   Ownership Plan (the “Plan” or “ESOP”) for $163.7 million. Defendants seek to compel arbitration

   of Mr. Harrison’s claims or to dismiss for lack of jurisdiction. ECF No. 30-1. But Defendants are

   not merely seeking an alternate forum to resolve this dispute. Rather, they ask the Court to endorse

   a severe limitation of the substantive relief Congress made available to Mr. Harrison under ERISA,



   1
       The Employee Retirement Income Security Act, 29 U.S.C. § 1101 et seq.

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   including his right to seek relief on behalf of the Plan as a whole. Neither the Federal Arbitration

   Act, 9 U.S.C. § 1 et seq. (“FAA”) nor ERISA permit that result.

           The Court should deny Defendants’ motion for the further reason that Mr. Harrison did not

   consent to arbitrate his fiduciary breach claims. Indeed, Mr. Harrison had no notice of the

   arbitration provision. The provision is found in the Plan Document (see Dkt. 34-1), which was

   never given to Mr. Harrison during his employment with Envision. Instead, participants only

   received the Summary Plan Description (“SPD”) which advised that ESOP participants could file

   fiduciary breach claims in federal court but said nothing about arbitration. Worse, Mr. Harrison

   was never told that if he filed in federal court, he could be liable for attorneys’ fees and costs if he

   was unsuccessful in contesting the undisclosed arbitration provision.

           Arbitration is not a trap for the unwary or an instrument to avoid liability. The FAA requires

   consent to arbitration and that parties in arbitration retain the ability to effectively vindicate all

   their statutory rights. This Court should reject Defendants’ attempts to evade these basic

   requirements and deny their motion in its entirety.

                                              II.     FACTS

           Defendants Creps, Sherwood, and Jones (the “Sellers”) owned Envision until December

   2017, when they created the Envision ESOP to purchase their Company stock for $163.7 million

   (“the Transaction”). Dkt. 1 (“Compl.”) at ¶ 2. The Sellers hand-picked Argent Trust Company to

   represent the ESOP (the buyer of their stock) in the Transaction but retained control over the ESOP

   through their control over Argent. Id. at ¶¶ 4-6. Defendant Jones acknowledged as much to

   Envision employees, stating that though Argent would appoint members of the Envision Board of

   Directors, the Sellers would “still have control over that Board[.]” Id. at ¶¶ 79-80. Further, the


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   Sellers retained the right to unilaterally fire Argent and they also agreed that the Company would

   indemnify Argent from ERISA fiduciary liability related to the Transaction. Id. at ¶¶ 6-7, 103-104.

          The Transaction itself, approved by Argent, inexplicably required the ESOP to pay two

   different share prices for the same class of shares of Envision stock: $1,404 per share for

   approximately one-third of the shares, and $1,770 per share ($366/share more) for the rest. Id. at

   ¶¶ 8, 90-91. Based on this disparity alone, the ESOP overpaid at least $23.4 million for the

   Envision stock purchased from the Sellers. Id. at ¶¶ 9, 95. Further, the ESOP paid too much for

   the stock because the price did not reflect a significant discount for the ESOP’s lack of control

   over the Company, and the Company’s lack of control over the core business. Id. at ¶¶ 14, 79-88.

          Argent (acting as the Trustee) and the Sellers (exercising control over Argent) caused the

   ESOP to take on an excessive debt burden of $154.4 million to purchase the stock. Id. at ¶ 2. The

   Sellers loaned over $100 million of this amount to the ESOP, at times charging an extraordinarily

   high interest rate of 12%. Id. at ¶¶ 15, 96-97. This behavior was self-dealing at worst, and at best

   it failed to serve the best interest of the ESOP participants, whose retirement savings are dependent

   upon the value of a now-highly leveraged company. Id. at ¶¶ 16-17.

          Plaintiff Robert Harrison worked for Envision from 2016 to 2020 and is a vested participant

   in the Envision ESOP. Id. ¶¶ 26-27. During his employment with Envision, Mr. Harrison never

   received a copy of the Plan Document which included the arbitration provision and was never

   informed of the arbitration provision. Harrison Decl. ¶¶ 3-5. Mr. Harrison seeks relief on behalf of

   the entire Plan, including the restoration of all “losses to the plan,” the disgorgement of profits, the

   removal of Argent as a fiduciary, and injunctive relief pursuant to 29 U.S.C. §§ 1132(a)(2) & (a)(3)

   and 1109. Compl. ¶¶ 1, 105, 106; Prayer for Relief A-K.


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                                          III.    ARGUMENT

                  Defendants’ Motion to Compel Arbitration Should be Denied

          Contrary to Defendants’ assertion, there is no presumption in favor of arbitrability where,

   as here, the parties dispute whether an agreement to arbitrate exists in the first place. Jacks v. CMH

   Homes, Inc., 856 F.3d 1301, 1304 (10th Cir. 2017); Dumais v. Am. Golf Corp., 299 F.3d 1216,

   1220 (10th Cir. 2002) (“The presumption in favor of arbitration […] disappears when the parties

   dispute the existence of a valid arbitration agreement.”) (citing First Options of Chicago, Inc. v.

   Kaplan, 514 U.S. 938, 944-45 (1995)). Rather, Defendants, as the parties seeking to compel

   arbitration, bear the burden of proving the existence of a valid arbitration agreement. Hancock v.

   Am. Tel. & Tel. Co., Inc., 701 F.3d 1248, 1261 (10th Cir. 2012); Ward v. Express Messenger Sys.,

   Inc., 413 F. Supp. 3d 1079, 1083 (D. Colo. 2019). This requires showing that (1) legal constraints

   external to the parties’ agreement do not foreclose arbitration of the claims, and (2) the parties

   agreed to arbitrate the claims at issue. Williams v. Imhoff, 203 F.3d 758, 766-67 (10th Cir. 2000).

   Because Defendants have failed to meet their burden on both requirements, the motion to compel

   arbitration should be denied.2

                  1.      The non-severable arbitration provision eliminates statutory remedies
                          and is thus invalid

          The Supreme Court has repeatedly held that an arbitration provision is invalid if it acts as

   a “prospective waiver of a party’s right to pursue statutory remedies.” Am. Express Co. v. Italian

   Colors Rest., 570 U.S. 228, 235 (2013) (quoting Mitsubishi Motors Corp. v. Soler Chrysler-


   2
     A stay during arbitration would deprive Mr. Harrison of his right under Section 16 of the FAA
   to appeal the decision. If this Court concludes that arbitration is appropriate, Plaintiff would
   request dismissal pursuant to Fed. R. Civ. P. 12(b)(3) or (6) in order to take an immediate appeal.

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   Plymouth, Inc., 473 U.S. 614, 637 n.19) (emphasis original). “That would certainly cover a

   provision in an arbitration agreement forbidding the assertion of certain statutory rights.” Id. at

   236. The Tenth Circuit has explained that the proposition that litigants in arbitration “have an

   adequate forum” in which to resolve statutory claims “falls apart [ ] if the terms of an arbitration

   agreement actually prevent an individual from effectively vindicating his or her statutory rights.”3

   Shankle v. B-G Maint. Mgmt. of Colorado, Inc., 163 F.3d 1230, 1234 (10th Cir. 1999) (citing

   Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 28 (1991)). See also Nesbitt v. FCNH, 811

   F.3d 371, 376-378 (10th Cir. 2016) (“effective vindication exception” applies even where both

   parties agree to arbitrate); Sanchez v. Nitro-Lift Techs., L.L.C., 762 F.3d 1139, 1148 (10th Cir.

   2014) (“Gilmer reasoned that by submitting statutory claims to arbitration, a plaintiff does not lose

   the protection of substantive rights afforded by the statute, but rather submits their resolution to an

   alternative forum.”).

          The statutory rights at issue derive from ERISA § 502(a)(2), which gives a participant the

   right to sue “for appropriate relief under section 1109 of this title.” 29 U.S.C. § 1132(a)(2). Section

   1109, in turn, makes fiduciaries “personally liable to make good to [the] plan any losses to the plan

   resulting from” a fiduciary breach and requires fiduciaries to “restore to [the] plan any profits of

   such fiduciary which have been made through use of assets of the plan[.]” 29 U.S.C. § 1109(a)

   (emphases added). Section 1109 expressly authorizes removal of a breaching fiduciary and any



   3
     The fee-shifting provision Defendants rely on in their motion for fees (Plan Document § 21.1) is
   still another barrier to effective vindication which renders the entire arbitration provision void. See
   Pollard v. ETS PC, Inc., 186 F.Supp.3d 1166, 1176 (D. Colo. 2016) (“By far, the most common
   examples of arbitral provisions that thwart effective vindication of federal statutory rights . . . are
   those that impose prohibitive costs on the plaintiff (such as paying or splitting the arbitrator’s fee),
   or that would hold the plaintiff liable for” defendant’s attorneys’ fees and costs if unsuccessful).

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   “such other equitable or remedial relief as the court may deem appropriate.” Id. Simply put,

   § 502(a)(2) is a unique provision of ERISA that allows plan participants to sue plan fiduciaries

   and recover all losses suffered by all plan participants, not only individual losses. See, e.g. LaRue

   v. DeWolff, Boberg and Assoc., 552 U.S. 248, 261 (2008) (Thomas, J., concurring) (“On their face,

   §§ 409 and 502(a)(2) permit recovery of all plan losses caused by a fiduciary breach.”); Braden v.

   Wal-Mart Stores, Inc., 588 F.3d 585, 593 (8th Cir. 2009) (“a plaintiff with Article III standing”

   may sue on behalf of the plan and “may seek relief under § 1132(a)(2) that sweeps beyond [that

   plaintiff’s] own injury”). When a participant seeks relief under § 1132(a)(2), the claim is

   necessarily “brought in a representative capacity on behalf of the plan as a whole.” Mass. Mut. Life

   Ins. Co. v. Russell, 473 U.S. 134, 142 n.9 (1985); LaRue, 552 U.S. at 256 (“§ 502(a)(2) does not

   provide a remedy for individual injuries distinct from plan injuries”).

          The arbitration provision here cannot be enforced because it would strip Mr. Harrison of

   substantive rights conferred by ERISA: namely, the right to proceed under § 1132(a)(2) and seek

   multiple remedies on behalf of the Plan as a whole. Specifically, the arbitration provision prohibits

   Mr. Harrison from proceeding under § 1132(a)(2) and seeking relief on behalf of the Plan by

   stating that claims “must be brought solely in the Claimant’s individual capacity and not in a

   representative capacity.” Plan Document § 21.1(b).4 On its face, this language bars Mr. Harrison

   from bringing an (a)(2) claim, which can only be brought in a representative capacity. Russell, 473




   4
    Defendants refer to § 21.1(b) as “a ‘Class Action Waiver’ provision, but the Plan does not contain
   a class action waiver that is separate from the mandatory arbitration requirement. Section 21 of the
   Plan Document is entitled “ERISA Arbitration and Class Action Waiver,” and its short title is
   “Arbitration Procedure.” See Plan Document § 21.1. (labeled “Arbitration Requirement and
   Procedure”); see also § 21.1(b) (labeled “No Group, Class, or Representative Arbitrations.”).

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   U.S. at 142 n.9; LaRue, 552 U.S. at 256. In addition, even though § 1109 expressly authorizes

   restoration of “any” losses to the plan and disgorgement of “any” profits fiduciaries made through

   the use of plan assets, the Plan’s arbitration provision limits remedies to “losses to the Claimant’s

   individual account” and only “a pro-rated portion of any profits allegedly made by a fiduciary

   through the use of Plan assets.” Id.5 The provision further states that the claimant “may not seek

   or receive any remedy which has the purpose or effect of providing additional benefits or monetary

   or other relief” to anyone other than the claimant and prohibits relief that is “binding on the Plan

   Administrator or Trustee with respect to [anyone] other than the Claimant.” Id. This not only limits

   Mr. Harrison from obtaining the monetary relief available to him under § 1109 but makes it

   impossible for the arbitrator to remove the Plan fiduciary and to award other equitable and

   injunctive relief. A fiduciary cannot be removed or replaced with respect to only Mr. Harrison.

   The same is true for other remedies requested in the Complaint, such as a constructive trust or

   equitable lien on ill-gotten gains, an injunction that prevents Defendants from dissipating or

   transferring the proceeds they received from the Transaction, and an order enjoining enforcement

   of illegal indemnification arrangements. See Compl. Prayer for Relief. These remedies are

   authorized by 29 U.S.C. §§ 1132(a)(2) and (a)(3), but the plain language of the arbitration

   provision forbids Mr. Harrison from seeking or receiving them because they necessarily provide




   5
    The disgorgement remedy is designed to deter fiduciaries from self-dealing. Sec’y U.S. Dep’t of
   Labor v. Koresko, 646 F. App’x 230, 245-46 (3d Cir. 2016) (“The purpose of disgorgement of
   profits is deterrence, which is undermined if the fiduciary is able to retain proceeds from his own
   wrongdoing.”). Limiting disgorgement to a pro-rated portion of profits in individualized arbitration
   would seriously undermine Congress’s intended prophylactic effect.

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   relief to all participants (and would enjoin or bind Defendants with respect to all participants), not

   just Mr. Harrison.6

          In short, the Plan’s arbitration provision does not simply provide a different forum for Mr.

   Harrison to vindicate his statutory rights or require him to forgo a class action. The plain language

   of the arbitration provision eliminates his ability to proceed under § 1132(a)(2) and obtain

   remedies that § 1109 explicitly authorizes. These non-severable terms “do not comport with

   ERISA’s remedial scheme, which goes beyond an individual participant’s account and extends to

   the entire plan, encompassing relief that includes the disgorgement of profits and removal of

   fiduciaries.” Smith v. GreatBanc Trust Co., No. 20 C 2350, 2020 WL 4926560 at *4 (N.D. Ill.

   Aug. 21, 2020) (holding that identical arbitration provisions in an ESOP were unenforceable with

   respect to § 1132(a)(2) claims). See also Cooper v. Ruane Cunniff & Goldfarb Inc., 990 F.3d 173,

   184 (2d Cir. 2021) (noting that requiring individual arbitration of a § 1132(a)(2) claim potentially

   violated the rule against “forbidding the assertion of certain statutory rights”).

          Defendants mischaracterize LaRue, which simply held that for defined contribution plans

   (e.g., 401(k) plans), § 1132(a)(2) permits claims even where only an individual account actually

   lost money as a result of fiduciary breach. 552 U.S. at 256 (“Whether a fiduciary breach diminishes

   plan assets payable to all participants and beneficiaries, or only to persons tied to particular



   6
     Though ERISA plan document terms generally must be enforced “as written,” MTC at 5, it is
   well-established that plan document terms may not conflict with ERISA. Cent. States, Se. & Sw.
   Areas Pension Fund v. Cent. Transp., Inc., 472 U.S. 559, 568–69 (1985) (“trust documents cannot
   excuse trustees from their duties under ERISA, and [ ] must generally be construed in light of
   ERISA’s policies”); Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409, 421 (2014) (emphasizing
   that plan documents must be followed insofar as they accord with the statute per 29 U.S.C. §
   1104(a)(1)(D)). The arbitration provision here is inconsistent with ERISA § 502(a)(2) and thus
   Defendants’ ERISA-based argument fails.

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   individual accounts, it creates the kind of harms that concerned the draftsmen of § 409.”). LaRue

   did not purport to limit the plan-wide remedies that are otherwise available under ERISA, and it

   certainly did not hold that plan-wide relief is unavailable in suits involving defined contribution

   plans. Id. at 254 (reiterating that “the text of § 409(a) characterizes the relevant fiduciary

   relationship as one ‘with respect to a plan,’ and repeatedly identifies the ‘plan’ as the victim of any

   fiduciary breach and the recipient of any relief.”) (quoting Russell, 473 U.S. at 136-37). To the

   contrary, the Court emphasized that § 1132(a)(2) “does not provide a remedy for individual injuries

   distinct from plan injuries[.]” Id. at 256.

           Because the arbitration provision here eliminates Mr. Harrison’s “right to pursue statutory

   remedies,” American Express, 570 U.S. 235, the entire provision, including the so-called class

   action waiver, is invalid. By the arbitration provision’s own terms, the invalidity of any of its

   requirements means that “the entire Arbitration Procedure [i.e. all of § 21] … shall be rendered

   null and void in all respects” as to each of Mr. Harrison’s ERISA claims. Plan Document § 21.1(b).

   Moreover, the terms that seek to eliminate Mr. Harrison’s right to proceed under § 1132(a)(2) and

   seek plan-wide relief are expressly identified as “material and non-severable.” Id.; MTC at 11-12.

   The Court need not go any further to deny the motion to compel arbitration.

           Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619 (2018) does not change this result. There

   the Supreme Court held that arbitration agreements requiring individualized proceedings are valid

   even though they preclude individuals from bringing collective actions to protect statutory rights.

   The arbitration agreement in Epic did not require plaintiffs to waive their statutory rights; it simply

   barred a particular procedural vehicle. Similarly, other cases cited by Defendants do not involve

   arbitration agreements that require waiver of statutory claims. See Am. Exp. Co., 570 U.S. at 233


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   (noting that the arbitration agreement did not prevent the party’s right to pursue statutory

   remedies); AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 344 (2011) (invalidating state law

   requiring availability of class-wide arbitration); Gilmer, 500 U.S. at 28 (upholding arbitration

   agreement but acknowledging that such agreements are valid only to the extent that they do not

   require waiver of statutory rights).

          Beyond impermissibly depriving Mr. Harrison of his statutory rights, enforcement of the

   Plan’s arbitration provision in the context of an ESOP would be unworkable. The value of every

   ESOP participant’s account is based on the same valuation of Company stock. Yet the arbitration

   provision states that an arbitrator’s award is not binding on Plan fiduciaries and cannot provide a

   remedy for anyone other than the Claimant. Plan Document §§ 21.1(b), 21.1(g). Enforcement of

   the arbitration provision would thus almost certainly result in multiple, individualized arbitration

   decisions yielding different determinations of the stock’s value and binding plan fiduciaries to

   conflicting requirements. And because Plan Document § 21.1(i) bars disclosure of any aspect of

   the arbitration proceeding, individual arbitrators would not even be aware of decisions by other

   arbitrators. This would also conflict with ERISA’s reporting and disclosure regime, which requires

   the disclosure of any prohibited transactions, as well as the value of all the assets held in the ESOP

   (i.e., the value of all shares of Envision stock), in a plan’s annual Form 5500 filing with the

   Department of Labor. See 29 U.S.C. § 1023(b)(2) and § 1023(b)(3)(C).

          Enforcement of the Plan’s arbitration provision would create chaos rather than simplify the

   process for participants to pursue their statutory rights, contrary to Congress’s goal in the FAA to

   establish an “alternative to the complications of litigation.” Wilko v. Swan, 346 U.S. 427, 431




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   (1953), abrogated on other grounds by Rodriguez de Quijas v. Shearson/Am. Exp., Inc., 490 U.S.

   477 (1989)).

                  2.      Arbitration should not be compelled because Mr. Harrison did not
                          consent to arbitrate his claims.

          Because the arbitration provision eliminates statutory remedies, it is unenforceable under

   the FAA and ERISA, and this Court need not go any further. The lack of consent to arbitration,

   however, provides an alternative basis to deny the motion to compel arbitration.

          Under the FAA, a party cannot be forced to arbitrate unless he has consented to arbitration.

   Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1412 (2019). Such mutual assent is a “strictly”

   required and “foundational FAA principle.” Id. at 1415 (2019) (citations omitted). The Supreme

   Court has been unwavering on this point, emphasizing that “the FAA imposes certain rules of

   fundamental importance, including the basic precept that arbitration is a matter of consent, not

   coercion.” Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 681 (2010) (quotation

   omitted). ERISA cannot override this core requirement. 29 U.S.C. § 1144(d) (stating ERISA does

   not modify or supersede other federal laws).

          The arbitration provision is unenforceable against Mr. Harrison because he did not consent

   or otherwise agree to be bound by it. Harrison Decl. ¶ 6. Mr. Harrison had no knowledge of the

   arbitration provision that purported to strip him of his statutory right to sue in federal court, but

   not for any failure on his part. Id. ¶ 3-6 (stating that during his employment with Envision, Mr.

   Harrison never received or reviewed the Plan Document, was never informed about the arbitration

   provision, and never agreed to arbitrate claims regarding the ESOP). Indeed, the SPD – the only




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   document which ERISA requires that plans provide to participants7 – stated that “[i]f it should

   happen that Plan fiduciaries misuse the Plan’s money, or if you are discriminated against for

   asserting your rights, you may seek assistance from the U.S. Department of Labor, or you may file

   suit in a federal court.” Id. ¶ 11, Ex. A (emphasis added) (hereinafter “2018 SPD”) at 14-15. Far

   from putting ESOP participants on notice of the Plan’s arbitration provision, the SPD affirmatively

   assured that participants like Mr. Harrison could seek redress in federal court – which is precisely

   what he did here. Any reasonable conception of “consent” must require that a person have actual

   or constructive notice of the thing to which he consents. Such consent is missing here.

            Further, because the FAA requires mutual consent to arbitration, this Court and others have

   repeatedly rejected attempts to impose arbitration unilaterally. See, e.g., Dumais, 299 F.3d at 1219

   (joining “other circuits in holding that an arbitration agreement allowing one party the unfettered

   right to alter the arbitration agreement’s existence or its scope is illusory”); Druco Rests., Inc. v.

   Steak N Shake Enters., Inc., 765 F.3d 776, 782-83 (7th Cir. 2014) (holding that where one party

   “retain[s] the sole, unilateral discretion” to impose an arbitration provision, the provision is

   “illusory” and therefore invalid); Morrison v. Amway Corp., 517 F.3d 248, 254-55 (5th Cir. 2008).8

   This touchstone FAA principle means that before Defendants can force Mr. Harrison to arbitrate,

   Mr. Harrison must consent to arbitrate. And here, even under the most lenient conception of

   consent, there is no basis to infer that Mr. Harrison agreed to arbitrate this dispute.




   7
       See ERISA § 104(b)(1), 29 U.S.C. § 1024(b)(1).
   8
     These cases also reject mandatory arbitration where one party has the unilateral right to modify
   the terms of the arbitration agreement.

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          Defendants contend that Mr. Harrison “consented” to the arbitration clause because he

   participated in the Plan and the arbitration clause was included in the Plan Document. MTC at 6-

   7.9 But even in a “take-it-or-leave-it” adhesive contract, the counterparty must at least have the

   opportunity to “leave it” and reject the contract altogether. See e.g. Carnival Cruise Lines v. Shute,

   499 U.S. 585, 595 (1991) (explaining consent may be inferred only where a party to be bound was

   “given notice of the… provision” and “retained the option of rejecting the contract with

   impunity.”). It is unclear how Mr. Harrison could have withheld his consent to arbitration when

   he had no actual or constructive notice that the arbitration clause even existed. Harrison Decl. ¶ 5;

   Smith, 2020 WL 4926560, at *3 (rejecting argument that ESOP participant consented to arbitrate

   through participation in the plan because plaintiff had no notice of the arbitration provision).

   Consent to arbitration plainly cannot be inferred without notice. Carnival Cruise Lines, 499 U.S.

   at 595-97 (enforcing a forum selection clause contained on the back of a cruise ticket).

          Defendants give little attention to the SPD’s assurance that a participant can bring a claim

   in federal court, and the short explanation offered misleads the Court on both the facts and the law.

   The problem is not simply that “the Plan Document’s arbitration provision was not described in”

   the SPD. MTC at 7, fn. 6. Rather, the SPD specifically assured participants that they could bring

   this dispute to federal court, contrary to the Plan Document’s arbitration provision. See 2018 SPD

   at 14-15. And Defendants also mischaracterize Eugene S. v. Horizon Blue Cross Blue Shield of

   New Jersey, which expressly did not reach the conclusion that Defendants suggest. Compare MTC




   9
     In support of their argument, Defendants rely on the unpublished portion of an otherwise
   published opinion. MTC at 6-7; Dorman v. Charles Schwab Corp., 780 F. App’x 510, 512, n. **
   (9th Cir. 2019) (“Dorman II”) (noting that the opinion is not precedent).

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   at 7, fn. 6 with Eugene S., 663 F.3d 1124, 1131 (10th Cir. 2011) (“We need not determine [the

   holding of CIGNA v. Amara], though, because the SPD does not conflict with the Plan or present

   terms unsupported by the Plan; rather, it is the Plan”).

          Lastly, Schoemann v. Excellus Health Plan, Inc., 447 F. Supp. 2d 1000 (D. Minn. 2006),

   is irrelevant. ERISA claims can be arbitrated only by virtue of the FAA, and it is the FAA that

   governs the arbitration of ERISA claims. As explained above, consent is the “cornerstone” of the

   formation of an agreement to arbitrate under the FAA. Granite Rock Co. v. International Broth. of

   Teamsters, 561 U.S. 287, 298-99 n. 6 (2010).ERISA itself makes room for the operation of other

   federal laws, see 29 U.S.C. § 1144(d), and that means an arbitration provision can be enforced

   only if the FAA’s strict consent requirements are satisfied.

                  Defendants Are Not Entitled to Attorneys’ Fees and Costs

          Even if the Court finds that the arbitration agreement in the Plan Document is valid (which

   it is not, for the reasons stated in Section III.A, supra), the Court should decline to order Plaintiff

   to pay Defendants’ attorneys’ fees and costs. The validity of the arbitration clause here is genuinely

   disputed, and thus this case is not analogous to Lamkin v. Morinda Properties Weight Parcel, LLC,

   which Defendants cite in support of their request. 440 F. App'x 604 (10th Cir. 2011). That case

   dealt with a plaintiff who had consented to arbitration, but who filed suit in court contending that

   the defendant had waived its right to compel arbitration, despite clear evidence that defendant had

   not waived that right. Id. at 609-10. Further, imposing attorneys’ fees and costs on the Plaintiff in

   circumstances such as these, where Mr. Harrison neither consented to nor had notice of the

   arbitration clause (Harrison Decl. ¶¶ 5-6), would have a strong chilling effect on plaintiffs seeking




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   to vindicate their rights under ERISA, which declared it the policy of Congress to provide for

   “ready access to the Federal courts.”10 29 U.S.C. § 1001(b).

                                       IV.     CONCLUSION

          The Court should deny Defendants’ motion to compel individual arbitration because the

   arbitration clause in the Plan Document functions as a prospective waiver of statutory rights and

   because Mr. Harrison never consented to arbitrate his claims. The Court should also deny

   Defendants’ request for attorneys’ fees and costs.

   June 1, 2021                                   Respectfully submitted,

                                                  /s/ Mary J. Bortscheller
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                                                  Mary J. Bortscheller
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                                                  Attorneys for Plaintiff


                                   CERTIFICATE OF SERVICE

           I hereby certify that on June 1, 2021, a true and correct copy of the foregoing
   Plaintiff’s Memorandum in Opposition to Defendants’ Motion to Compel Arbitration and/or
   Dismiss was sent to all counsel of record via the CM/ECF system.

                                                /s/ Mary J. Bortscheller
                                                Mary J. Bortscheller



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     ERISA also expressly requires a district court to exercise discretion before allowing attorneys’
   fees. 29 U.S.C. § 1132(g)(1).

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